Fill in this information to identify your case:

Debtor 1                   T Darious Xavier
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  DISTRICT OF OREGON-CH.13

Case number           22-31672-thp13
(if known)
                                                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             635,400.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             118,040.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             753,440.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             265,227.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                2,426.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              25,745.00


                                                                                                                                    Your total liabilities $               293,398.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,000.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,838.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                           page 1 of 2




                                                    Case 22-31672-thp13                             Doc 18             Filed 10/31/22
Debtor 1    T Darious Xavier                                                            Case number (if known) 22-31672-thp13
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $   9,905.99


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $               761.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,665.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 2,426.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2



                                          Case 22-31672-thp13                 Doc 18          Filed 10/31/22
Fill in this information to identify your case and this filing:

Debtor 1                    T Darious Xavier
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      DISTRICT OF OREGON-CH.13

Case number            22-31672-thp13                                                                                                                           Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1653 Lea Way                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Seaside                           OR        97138-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $580,400.00                $580,400.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Homestead
       Clatsop                                                                        Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               FMV per Zillow.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1




                                                       Case 22-31672-thp13                            Doc 18           Filed 10/31/22
Debtor 1        T Darious Xavier                                                                                       Case number (if known)          22-31672-thp13

      If you own or have more than one, list here:
1.2                                                                   What is the property? Check all that apply
      Premiere Vacation Collection                                           Single-family home                              Do not deduct secured claims or exemptions. Put
      Diamond Resorts                                                        Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
      10600 W. Charleston Blvd.                                                                                              Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative
      Street address, if available, or other description

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
      Las Vegas                         NV        89135-0000                 Land                                            entire property?              portion you own?
      City                              State              ZIP Code          Investment property                                        Unknown                      Unknown
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Fee simple
      Clark                                                                  Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:




      If you own or have more than one, list here:
1.3                                                                   What is the property? Check all that apply
      Sunside Estates, Lot 15                                                Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
      Seaside                           OR        97138-0000                 Land                                            entire property?              portion you own?
      City                              State              ZIP Code          Investment property                                      $55,000.00                    $55,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Fee simple
      Clatsop                                                                Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Vacant lot next to residential property - Map No. 61022BD01424
                                                                      FMV per 2020 Clatsop County Land Appraisal $55,000 / Current RMV =
                                                                      $27,720


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                     $635,400.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 2




                                                      Case 22-31672-thp13                    Doc 18           Filed 10/31/22
Debtor 1         T Darious Xavier                                                                  Case number (if known)    22-31672-thp13
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      BMW                           Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     X5M                              Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      2010                             Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:          109k          Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                          At least one of the debtors and another
         FMV per Kelley Blue Book
                                                     Check if this is community property                         $15,537.00                  $15,537.00
                                                     (see instructions)



  3.2    Make:      BMW                           Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     328xi Wagon                      Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      2007                             Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:          175k          Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                          At least one of the debtors and another
         FMV per Kelley Blue Book
                                                     Check if this is community property                           $6,386.00                  $6,386.00
                                                     (see instructions)



  3.3    Make:      BMW                           Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     M6 Coupe                         Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      2007                             Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:           60k          Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                          At least one of the debtors and another
         FMV per Kelley Blue Book -
         $14,625                                     Check if this is community property                                $0.00                       $0.00
         Blown engine, estimated cost of             (see instructions)

         repair $15-$20k
         Value listed at zero since cost
         of repairs exceed value of
         vehicle


  3.4    Make:     Suzuki                         Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:    GSX-1300R / Hayabusa              Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:     2012                              Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:       6500             Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                          At least one of the debtors and another
         FMV per NADA Guides
                                                     Check if this is community property                           $9,845.00                  $9,845.00
                                                     (see instructions)



  3.5    Make:      Yamaha                        Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     YSR 50                           Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      1987                             Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:          3700          Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                          At least one of the debtors and another
         FMV per NADA Guides
         Needs engine and cosmetic                   Check if this is community property                             $330.00                     $330.00
         repaires                                    (see instructions)




Official Form 106A/B                                       Schedule A/B: Property                                                                   page 3




                                       Case 22-31672-thp13                   Doc 18            Filed 10/31/22
Debtor 1         T Darious Xavier                                                                                  Case number (if known)       22-31672-thp13

  3.6    Make:      Suzuki                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     GSXR 750                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      1993                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                    56k            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         FMV per NADA Guides
         Needs engine and cosmetic                              Check if this is community property                                      $555.00                    $555.00
         repaires                                                (see instructions)




  3.7    Make:     Ford                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:    E250 Extended Van                            Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:     2002                                         Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:       170k                        Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Titled to debtor, used for work
         FMV per Kelley Blue Book                               Check if this is community property                                    $2,710.00                 $2,710.00
                                                                 (see instructions)



  3.8    Make:      Ford                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     E250 Van                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2002                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                  150k             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Titled to debtor, used for work
         FMV per Kelley Blue Book                               Check if this is community property                                    $3,366.00                 $3,366.00
                                                                 (see instructions)



  3.9    Make:      Yamaha                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     YSR-50                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      1990                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:      3k estimated                 Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         FMV per NADA Guides, debtor
         is still waiting to take                               Check if this is community property                                    $1,250.00                 $1,250.00
         possession from the seller who                          (see instructions)

         transporting the bike from
         California


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      COTC                                     Who has an interest in the property? Check one
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Dump trailer                                Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2018                                        Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $5,000.00                   $5,000.00
         6x12 dump trailer                                       (see instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $44,979.00


Official Form 106A/B                                                   Schedule A/B: Property                                                                          page 4




                                               Case 22-31672-thp13                        Doc 18            Filed 10/31/22
Debtor 1      T Darious Xavier                                                                      Case number (if known)     22-31672-thp13

Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                  Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               Household goods and furnishings                                                                                   $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Household electronics and computer                                                                                $2,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

                               Painting by Anthony Hopkins: $3,000
                               Books: $100
                               Pokemon cards (minor kids'): $10                                                                                  $3,110.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                               Music instruments: guitar, banjo, bass guitar, clarinet, violin,
                               keyboard, trumpet, string instruments, bongo, ukelele, harmonica                                                  $1,500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothing and shoes                                                                                                $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               Jewelry                                                                                                           $1,500.00


Official Form 106A/B                                         Schedule A/B: Property                                                                   page 5




                                         Case 22-31672-thp13                   Doc 18         Filed 10/31/22
Debtor 1        T Darious Xavier                                                                                                Case number (if known)   22-31672-thp13
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                             $11,610.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                   Cash on hand                        $2,088.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                        Checking and                            Wauna Credit Union 2406-1 savings: $6
                                            17.1.       Savings                                 Wauna Credit Union 2406-9 checking: $200                                  $206.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                 % of ownership:

                                                TDX Construction, LLC

                                                Assets:
                                                Wauna Credit Union #534S-1: $100
                                                Wauna Credit Union #534C-17: $100
                                                Cash on hand (funds to be used for COG's and
                                                materials): $50,430
                                                Materials: $250
                                                Accounts receivable: $0

                                                Liabilities: $0

                                                TOTAL ASSETS: $50,880
                                                TOTAL LIABILITIES: $0                                                                100%          %                  $52,576.00



Official Form 106A/B                                                                     Schedule A/B: Property                                                             page 6




                                                          Case 22-31672-thp13                                      Doc 18   Filed 10/31/22
Debtor 1        T Darious Xavier                                                                            Case number (if known)      22-31672-thp13
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                       Potential 2021 tax refunds
                                                           subject to offset                                     Federal and State                    Unknown


                                                       Potential 2022 tax refunds
                                                           subject to offset                                     Federal and State                    Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No

Official Form 106A/B                                                 Schedule A/B: Property                                                               page 7




                                                 Case 22-31672-thp13                  Doc 18          Filed 10/31/22
Debtor 1        T Darious Xavier                                                                                                Case number (if known)        22-31672-thp13

       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
       Yes. Give specific information..

                                                         Anticipated receipt of recovery rebate under the Coronavirus
                                                         Aid, Relief, and Economic Security Act of 2020
                                                         Debtor's ex claimed his share of the stimulus checks; Debtor
                                                         is pursuing his claim through the IRS.
                                                         Not an asset of the bankruptcy estate                                                                              Unknown


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
       Yes. Describe each claim.........

                                                         Claim against ex-spouse for Debtor's share of the Covid
                                                         stimulus checks as described in A/B-30.                                                                            Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
       Yes. Give specific information..

                                                         Funds held in client trust account of attorney Christopher
                                                         Palmer                                                                                                             $1,581.00



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................            $56,451.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

      Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.
Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 8




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Debtor 1        T Darious Xavier                                                                                                Case number (if known)        22-31672-thp13

38. Accounts receivable or commissions you already earned
       No
       Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
       Yes. Describe.....


                                       Tools of trade: hand tools, power tools, air compressors, ladders,
                                       planks, wheelbarrows                                                                                                                $5,000.00


41. Inventory
       No
       Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 No
                 Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................             $5,000.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




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53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................              $635,400.00
56. Part 2: Total vehicles, line 5                                                                           $44,979.00
57. Part 3: Total personal and household items, line 15                                                      $11,610.00
58. Part 4: Total financial assets, line 36                                                                  $56,451.00
59. Part 5: Total business-related property, line 45                                                          $5,000.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                    $118,040.00               Copy personal property total          $118,040.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $753,440.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 10




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Fill in this information to identify your case:

Debtor 1                    T Darious Xavier
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:        DISTRICT OF OREGON-CH.13

Case number              22-31672-thp13
(if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ T Darious Xavier                                              X
             T Darious Xavier                                                  Signature of Debtor 2
             Signature of Debtor 1

             Date        10/28/2022                                            Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules




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                               CERTIFICATE OF SERVICE
I hereby certify that on October 31, 2022, I mailed or served electronically a true and correct
copy of the attached Amended Schedules A/B for T Darious Xavier, Case Number 22-31672-
thp13, to the following:

       T Darious Xavier
       PO Box 1156
       Seaside, OR 97136

The following parties were serviced electronically:

Wayne Godare, Trustee
Portland, OR
US Trustee
Portland, OR


DATED: October 31, 2022                                     /s/ Stephen Gindling, OSB #012604
                                                            For Todd Trierweiler, OSB #853481
                                                            Attorney for Debtor




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